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    1
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        119 W Ferguson, Tyler, TX 75702
        Tel: 888-908-4400
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    7   Attorneys for Plaintiff

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    9
                            IN THE UNITED STATES DISTRICT COURT
   10                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
   11

   12   ROTHSCHILD BROADCAST
        DISTRIBUTION SYSTEMS,
   13
        LLC,
   14
                                               Case No. 4:23-cv-04773-JST
                        Plaintiff,
   15
                                               NOTICE OF DISMISSAL
   16           v.
                                               WITH PREJUDICE
   17
        PLEX, INC.,
   18
                        Defendant.
   19

   20

   21           Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Rothschild Broadcast
   22   Distribution Systems, LLC respectfully submits this notice of voluntary dismissal of
   23   all claims asserted in this action WITH PREJUDICE, with each party to bear its own
   24   attorneys’ fees, costs and expenses.
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NOTICE OF DISMISSAL WITH PREJUDICE
             Case 4:23-cv-04773-JST Document 9 Filed 09/20/23 Page 2 of 3




    1   Dated: September 20, 2023
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    3   Respectfully submitted,
    4

    5
                                                    /s/ Randall Garteiser
                                                    Randall Garteiser
    6                                                  California Bar No. 231821
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                                                    Christopher Honea
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   12                                               Telephone: (415) 785-3762
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                                                    ATTORNEYS FOR PLAINTIFF
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NOTICE OF DISMISSAL WITH PREJUDICE
             Case 4:23-cv-04773-JST Document 9 Filed 09/20/23 Page 3 of 3




    1
                                     CERTIFICATE OF SERVICE

    2
                I hereby certify that on September 20, 2023, I electronically transmitted the
    3
        foregoing document using the CM/ECF system for filing, which will transmit the
    4
        document electronically to all registered participants as identified on the Notice of
    5
        Electronic Filing, and paper copies have been served on those indicated as non-
    6
        registered participants.
    7

    8
                                              /s/ Randall T. Garteiser
    9                                         Randall T. Garteiser
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NOTICE OF DISMISSAL WITH PREJUDICE
